            Case 3:07-cr-05346-RBL       Document 37       Filed 07/11/07     Page 1 of 3

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 8                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 9                                     AT SEATTLE
10
     UNITED STATES OF AMERICA,                  )
11                                              )
                          Plaintiff,            )       CASE NO. CR07-5346
12                                              )
                   v.                           )       STIPULATED MOTION AND
13                                              )       ORDER
                                                )       SUBSTITUTING COUNSEL
14   RONALD BANKS,                              )
                          Defendants            )
15

16                                        STIPULATION
17
             COME NOW the undersigned, Steven Krupa, counsel of record for the defendant
18
     Ronald Banks, and David H. Gehrke, pursuant to Rule GR 2(f)(4)(A), hereby stipulate and
19
     agree that, David H. Gehrke, shall be substituted as counsel of record for the defendant and
20
     further, that Steven Krupa, may withdraw as counsel of record, for the defendant. Counsel
21
     has informed the office of the United States Attorney for the Western District of Washington
22
     of the substitution of counsel and that office has no objection. The defendant has agreed to
     STIPULATED MOTION AND                                              GEHRKE & BAKER
     (PROPOSED) ORDER                                            22030 SEVENTH AVENUE SOUTH,
     SUBSTITUTING COUNSEL                                                   SUITE 202
                                                                      DES MOINES, WA 98198
     Page 1 of 3
                                                                           206-878-4100
                                                                        206-878-4101 (FAX)
            Case 3:07-cr-05346-RBL        Document 37       Filed 07/11/07     Page 2 of 3

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 2   this substitution and a copy of this Stipulation has been served upon the client Ronald Banks,
 3
     and opposing counsel.
 4
     DATED this 9TH day of July, 2007.
 5

 6                                               Respectfully Submitted,

 7                                               s/ David H. Gehrke
                                                 David H. Gehrke, WSBA #8123
 8                                               Law Offices of Gehrke & Baker
                                                 22030 7th Ave S Ste 202
 9                                               Des Moines WA 98198
                                                 Telephone: (206) 878-4100
10                                               Fax: (206) 878-4101
                                                 E-Mail: gehrkelaw2004@yahoo.com
11
                                                 Attorney for Ronald Banks (Substituting)
12

13
                                                 s/Steven Krupa_
14                                               Steven Krupa
                                                 Krupa & Clark
15                                               1008 S. Yakima Ave Ste 100
                                                 Tacoma, WA 98405
16                                               Telephone: (253)573-1000
                                                 Fax: (253) 428.0330
17
                                                 Email: kclsteve@quest.net
18
                                                 Attorney for Ronald Banks (Withdrawing)

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     STIPULATED MOTION AND                                                GEHRKE & BAKER
     (PROPOSED) ORDER                                              22030 SEVENTH AVENUE SOUTH,
     SUBSTITUTING COUNSEL                                                     SUITE 202
                                                                        DES MOINES, WA 98198
     Page 2 of 3
                                                                             206-878-4100
                                                                          206-878-4101 (FAX)
            Case 3:07-cr-05346-RBL         Document 37       Filed 07/11/07      Page 3 of 3

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 6
                                                  ORDER
 7
             THIS MATTER having come before the Court on stipulation for substitution of
 8
     counsel, the stipulation having been submitted in accordance with Rule GR 2(f)(4)(A), and it
 9
     appearing that counsel and the defendant have agreed to said stipulation,
10
             IT IS ORDERED that David H. Gehrke is substituted as counsel of record for Ronald
11
     Banks and that Steven Krupa is hereby relieved of any further representation in this matter
12

13
     and may withdraw.

14           DATED this 11th day of July, 2007.
15

16                                                (Electronically Signed per Authorization)
17

18
                                                  A
                                                  RONALD B. LEIGHTON
19                                                UNITED STATES DISTRICT JUDGE

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22


     STIPULATED MOTION AND                                                 GEHRKE & BAKER
     (PROPOSED) ORDER                                               22030 SEVENTH AVENUE SOUTH,
     SUBSTITUTING COUNSEL                                                      SUITE 202
                                                                         DES MOINES, WA 98198
     Page 3 of 3
                                                                              206-878-4100
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